          3:05-cr-30011-SEM-KLM     # 36    Filed: 09/23/05   Page 1 of 2
                                                                                   E-FILED
                                                    Friday, 23 September, 2005 10:47:43 AM
                                                               Clerk, U.S. District Court, ILCD

               IN THE UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF ILLINOIS
                       SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )
                                            )
vs.                                         )      No. 05-30011
                                            )
KEVIN M. JOHNSON and                        )
REBECCA M. CHAMPLEY, a/k/a                  )
BECKY CHAMPLEY,                             )
                                            )
            Defendants.                     )

                                   OPINION

RICHARD MILLS, U.S. District Judge:

      This case is before the Court on Defendant Rebecca M. Champley’s motion

to continue the final pretrial conference and trial and Defendant Kevin M.

Johnson’s motion to continue.

      The final pretrial conference in this case is scheduled for September 26,

2005; trial is scheduled for October 4, 2005. In support of her motion, Defendant

Champley claims that counsel has not had an opportunity to review the extensive

discovery that has recently been received from the Government. Moreover,

Champley has not yet received from the Government the Santiago proffer or the

notice of intention to use “other crimes, wrongs, or acts” evidence. Champley also

                                        1
         3:05-cr-30011-SEM-KLM       # 36   Filed: 09/23/05   Page 2 of 2




states that the parties continue to attempt to negotiate this case and need

additional time. The Government has no objection to a continuance.

      Defendant Johnson has joined Champley’s motion. In further support of

his motion to continue, Johnson states that counsel has a scheduling conflict in

that he has a trial beginning in state court on October 3, 2005. The Government

has no objection to a continuance.

      Based upon the above justification, the Court finds that the ends of justice

served by granting the continuance outweigh the best interest of the Defendants

and the public in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).

      Ergo, Defendant Rebecca M. Champley’s motion to continue [d/e 34] is

ALLOWED. Defendant Kevin M. Johnson’s motion to continue [d/e 35] is

ALLOWED. The final pretrial conference is hereby continued to November 28,

2005 at 3:00 p.m. The trial is continued to December 6, 2005 at 10:00 a.m.

ENTER: September 23, 2005

                        FOR THE COURT:

                                                   s/Richard Mills
                                                   United States District Judge




                                        2
